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                         UNITED STATES COURT OF APPEALS
                             FOR THE EIGHTH CIRCUIT

                                        ___________________

                                            No: 18-2308
                                        ___________________

                                       David Anthony Stebbins

                                                Plaintiff - Appellant

                                                  v.

                 State of Arkansas; Amy Jones; Arkansas Rehabilitation Services

                                   Defendants - Appellees
______________________________________________________________________________

       Appeal from U.S. District Court for the Western District of Arkansas - Harrison
                                   (3:17-cv-03092-TLB)
______________________________________________________________________________

                                            JUDGMENT


Before COLLOTON, BOWMAN, and SHEPHERD, Circuit Judges.


        This appeal from the United States District Court was submitted on the record of the

district court and briefs of the parties.

        After consideration, it is hereby ordered and adjudged that the judgment of the district

court in this cause is affirmed in accordance with the opinion of this Court.

                                                         May 24, 2019




Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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